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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK
                                No. 1:22-cv-10599

AVI & CO NY CORP.,

      Plaintiff,

v.                                             CORPORATE DISCLOSURE
                                                    STATEMENT
CHANNELADVISOR CORPORATION,

      Defendant.



      Pursuant to Rule 7.1(a)(1)(2)(A) of the Federal Rules of Civil Procedure,

ChannelAdvisor Corporation states, through counsel, that (i) ChannelAdvisor

Corporation is a Delaware corporation with its principal place of business in North

Carolina; and (ii) there is no other individual or entity whose citizenship is

attributed to ChannelAdvisor.

                                      This the 15th day of December, 2022.

                                      MORNINGSTAR LAW GROUP


                                         /s/ Jeffrey L. Roether
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                                      Attorney for ChannelAdvisor Corporation
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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing Corporate

Disclosure Statement was this day served on counsel for Plaintiff by e-mail and by

depositing a copy thereof in the United States mail, first class, postage pre-paid,

addressed to the following counsel of record:

             Emanuel Kataev, Esq.
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             Lake Success, NY 11042-1073
             emanuel@mllaborlaw.com

             Attorney for the Plaintiff


                                          This the 15th day of December, 2022.




                                          MORNINGSTAR LAW GROUP


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